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                             Case 22-11068-JTD              Doc 26208          Filed 10/02/24           Page 1 of 3


     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF DELAWARE


    In re:
                                                                             Chapter 11
             FTX Trading Ltd., et al.                                        Case No. 22-11068
                      Debtors                                                (Jointly Administered)



                                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY

    A CLAIM HAS BEEN FILED IN THIS CASE or deemed ﬁled under 11 U.S.C. § 1111(a). Transferee hereby gives evidence and
    notice pursuant to Rule 3001(e)(2) Fed. R. of Bankr. P., of the transfer, other than for security, of the claim referenced in
    this evidence and notice.


     Name of Transferor                                                 Name of Transferee



     [CONFIDENTIAL CREDITOR]                                            BRADFORD CAPITAL HOLDINGS, LP


     Transferor’s Address:                                              Transferee’s address for notices and payment:


              [Address on File]                                                   P.O. Box 4353

                                                                                  Clifton, NJ 07012

                                                                                  Attn: Brian L. Brager

                                                                                  bbrager@bradfordcapitalmgmt.com



     Schedule/Claim No.                                 Creditor Name      % Transferred       Debtor                 Case No.

     Claim #: 29963
                                                        Name
     Conﬁrmation ID: 3265-70-QTINI-777336512                               100%                FTX Trading Ltd.       22-11068
                                                        (Redacted)
     (submitted on or about 07/31/2023 )


    I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my
    knowledge and belief.


                                          By:                                                        Date:

                                                 Transferee / Transferee’s Agent


    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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                                        Identity of Transferor/Seller

Transferee/Buyer has in its possession an unredacted Transfer of Claim Other Than For Security and an executed
Evidence of Transfer of Claim.

In order to protect the identity of the Transferor/Seller, Transferee/Buyer has not disclosed the
Transferor’s/Seller’s name in the ﬁled Transfer of Claim Other Than For Security and Evidence of Transfer of
Claim.

Upon written request, Transferee/Buyer is prepared to provide a copy of the unredacted Transfer of Claim Other
Than For Security and signed Evidence of Transfer of Claim to the Bankruptcy Court, the Debtors, and related
appropriate professionals.
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                                                             EXHIBIT A

                                        SCHEDULED CLAIM(S) / PROOF(S) OF CLAIM

    Excerpt from Schedule F:



    Excerpt from Amended Schedule F (2023):




    Excerpt from Kroll Website:
